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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )              Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)



                                           ORDER

       Upon consideration of defendant Roger J. Stone, Jr.’s Unopposed Motion for Permission

to Travel [Dkt. # 67], the motion is GRANTED.

       It is ORDERED that the defendant may travel to The Villages, Florida from April 1, 2019

to April 2, 2019; Winter Park, Florida from April 5, 2019 to April 7, 2019; and to Clearwater,

Florida, from April 16, 2019 to April 17, 2019. Defendant shall provide Pretrial Services with

a copy of this Order and his specific itinerary for each trip prior to his departure from the

Southern District of Florida. Defendant may not travel to any locations aside from those set out

above. Defendant must contact Pretrial Services within the first business day by telephone

upon his return.

       SO ORDERED.




                                            AMY BERMAN JACKSON
                                            United States District Judge

DATE: March 29, 2019
